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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,
                                                      Case No. 97-CR-80448-DT
v.
                                                      HONORABLE DENISE PAGE HOOD
ESHAYA KOURYAKAS,

            Defendant.
_____________________________________________/

         ORDER DENYING MOTION TO AMEND JUDGMENT OF SENTENCE
                     AND/OR TO ABATE RESTITUTION

        Defendant, Eshaya Kouryakas, brought this Motion to Amend Judgment of Sentence and/or

Abate Restitution requesting that the Court remit the amount of restitution and/or delete the fines

imposed at the time of sentencing. Defendant claims that although he is employed, he earns only

$8.00 per hour and his health is marginal. He also states that he is sixty-three (63) years old and

intends to seek Social Security benefits. Defendant’s Memorandum of Law cites only 18 U.S.C. §

3614, et seq. The Government responds that 18 U.S.C. § 3614 permits the court to re-sentence a

defendant who knowingly fails to pay a fine or restitution imposed, to a sentence that could have

been originally imposed, including imprisonment.

        The Court finds that Defendant has failed to cite any authority to support deletion of the

restitution or fine requirement of Defendant’s sentence under 18 U.S.C. § 3614. Defendant pled

guilty to trafficking in counterfeit videotape labels in violation of 18 U.S.C. §§ 2318(a) and (c) and

18 U.S.C. § 2. Restitution in the amount of $281,250.00 was ordered along with a $5,000.00 fine.

The Court finds no reason to re-sentence the Defendant at this time.
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       Accordingly,

       IT IS ORDERED that Defendant’s Motion to Amend Judgment of Sentence and/or Abate

Restitution [Docket No. 323, filed July 18, 2002] is DENIED.




                                                     /s/ Denise Page Hood
                                                  DENISE PAGE HOOD
                                                  United States District Judge

DATED:       May 16, 2005




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